            Case
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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

ROBBY ARNOLD                                        CIVIL ACTION NO. 14-cv-765

        Plaintiff                                   JUDGE DICK

VERSUS                                              MAGISTRATE JUDGE BOURGEOIS

EQUIFAX INFORMATION SERVICES, L.L.C.
CASHCALL, INC., SELENE FINANCE, L.P.,
SELECT PORTFOLIO SERVICING, INC.,
CAPITAL ONE BANK (USA), N.A., AND
EXPERIAN INFORMATION SOLUTIONS, INC.

        Defendants

                                             JUDGMENT

        The Voluntary Joint Motion to Dismiss considered;

        IT IS ORDERED, ADJUDGED, AND DECREED that the Plaintiff’s Complaint (Doc.

Rec. 1) and any and all claims asserted therein, are dismissed with prejudice and with each party

to bear its own attorney’s fees and costs.

                                                                24th day of
        THUS DONE AND SIGNED in Baton Rouge, Louisiana on this ____

        April
__________________________, 2018.



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                                              Judge, United States District Court
                                               Middle District of Louisiana




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